                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION


ARCH INSURANCE COMPANY,                   )
                                          )
                     Plaintiff,           )
                                          )
vs.                                       )      Case No. 06-0060-CV-W-ODS
                                          )
CENTRIX FINANCIAL, L.L.C.,                )
                                          )
                     Defendant.           )

                  ORDER AND OPINION GRANTING DEFENDANT’S
                   MOTION FOR PARTIAL SUMMARY JUDGEMENT

       Pending is Defendant’s Motion for Partial Summary Judgment on the Pleadings
(Doc. #18). For the following reasons, the Motion is granted.

                                     BACKGROUND
       Plaintiff is an insurance company organized under the laws of Missouri and with
its principal place of business in Kansas City, Missouri. Defendant is a Delaware
corporation with its principal place of business in Centennial, Colorado. Plaintiff insured
Defendant. The parties also entered into an agreement which addressed the allocation
of certain expenses with respect to the location and repossession of vehicles. Plaintiff
filed its Second Amended Complaint on February 13, 2006. Count I alleges “damages
for breach of contract.” Count II alleges Plaintiff erroneously returned to Defendant a
premium payment and was owed $1,101,740.25. Plaintiff requests repayment of the
premium and $5,000,000.00 in punitive damages. Defendant filed this motion for partial
summary judgment on punitive damages.


                                      DISCUSSION
       Under Missouri law, punitive damages cannot be recovered in breach of contract
actions. Peterson v. Continental Boiler Works, Inc., 783 S.W.2d 896, 903 (Mo. 1990).
However, there are two exceptions to this rule. The first is the independent tort
exception where the breach amounts to an independent, willful tort and there are proper



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allegations of malice, wantonness, or oppression. Id. at 903. A second exception
permits recovery of punitive damages when the breach of contract is coupled with
violations of a fiduciary duty. Id. Further, specific pleading is necessary.
       Defendant contends Plaintiff’s theory of recovery under Count II is based upon
unjust enrichment, a contractual theory, and is therefore barred from recovering punitive
damages. Plaintiff argues Count II is the separate and independent tort of conversion.
Conversion is a tort against the right of possession. Conversion requires the proof of
three elements: (1) the plaintiff is entitled to possession of the property; (2) the
defendant exercised unauthorized control over the property; and (3) the defendant
deprived the plaintiff of its right to possession. Lafayette v. Courtney, 189 S.W. 3d 207,
210 (Mo. App. 2006). Conversion is not generally a proper theory when a claim
involves money. Johnson v. GMAC Mortg. Corp., 162 S.W. 3d 110, 125. (Mo. App.
2005). However, while the Second Amended Complaint includes an untitled Count II,
Plaintiff does not does specifically plead a cause of action for conversion.
Further,“although couched in terms of tortious interference with contract and fiduciary
duty, the essence of the petition is a simple breach of contract claim.”
Procter v. Tomahawk Mortgage Company, Inc., 750 S.W. 2d 547, (Mo. App. 1988).


                                       CONCLUSION
       Therefore, Defendant’s Motion for Partial Summary Judgment is granted and
Plaintiff’s will be precluded from seeking punitive damages.



IT IS SO ORDERED.

DATE: August 11, 2006                             /s/ Ortrie D. Smith
                                                  ORTRIE D. SMITH, JUDGE
                                                  UNITED STATES DISTRICT COURT




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